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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

Justin Frette,                                       )
                                                     )     Civil File No. 21-cv-2009 (ECT/LIB)
                 Plaintiff,                          )
                                                     )
v.                                                   )
                                                     )           PROTECTIVE ORDER
Santander Consumer USA, AWR Enterprises,             )
Inc., and William E. Decker, individually,           )
                                                     )
                 Defendants.                         )



        Upon consideration of the parties’ Stipulation for Protective Order [Docket No. 22], as

slightly modified by the Court pursuant to its inherent authority to manage the cases that are

pending before the Court,

        IT IS HEREBY ORDERED THAT:

1.      Definitions. As used in this protective order:

        a.       “action” means the above-captioned lawsuit, Justin Frette v. Santander Consumer

                 USA Inc., AWR Enterprises, Inc. and William E. Decker, Case No.: 21-cv-2009-

                 ECT/LIB (D. Minn.);

        b.       “attorney” means an attorney who has appeared in this action;

        c.       “confidential document” means a document designated as confidential under this

                 protective order;

        d.       to “destroy” electronically stored information means to delete from all databases,

                 applications, and file systems so that the information is not accessible without the

                 use of specialized tools or techniques typically used by a forensic expert;

        e.       “document” means information disclosed or produced in discovery, including at a

                 deposition;
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     f.      “notice” or “notify” means written notice;

     g.      “party” means a party to this action; and

     h.      “protected document” means a document protected by a privilege or the work-

             product doctrine.

2.   Designating a Document or Deposition as Confidential.

     a.      A party or non-party disclosing or producing a document may designate it as

             confidential if the party or non-party contends that it contains confidential or

             proprietary information.

     b.      A party or non-party may designate a document as confidential by conspicuously

             marking each page with the word “confidential.”

     c.      Deposition testimony may be designated as confidential:

             i.     on the record at the deposition; or

             ii.    after the deposition, by promptly notifying the parties and those who were

                    present at the deposition.

     d.      If a witness is expected to testify as to confidential or proprietary information, a

             party or non-party may request that the witness’s deposition be taken in the

             presence of only those persons entitled to receive confidential documents.

3.   Who May Receive a Confidential Document.

     a.      A confidential document may be used only in this action.

     b.      No person receiving a confidential document may reveal it, except to:

             i.     the Court and its staff;

             ii.    an attorney or an attorney’s partner, associate, or staff;




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             iii.   a person shown on the face of the confidential document to have authored

                    or received it;

             iv.    a court reporter or videographer retained in connection with this action;

             v.     a party; and

             vi.    any person who:

                    (1)     is retained to assist a party or attorney with this action; and

                    (2)     signs a declaration that contains the person’s name, address,

                            employer, and title, and that is in substantially this form:

                                    I have read, and agree to be bound by, the
                            protective order in the case captioned Justin Frette v.
                            Santander Consumer USA Inc., AWR Enterprises,
                            Inc. and William E. Decker, Case No. 21-cv-2009 in
                            the District of Minnesota. As soon as my work in
                            connection with that action has ended, but not later
                            than 30 days after the termination of that action
                            (including any appeals), I will return or destroy any
                            confidential document that I received, any copy of or
                            excerpt from a confidential document, and any notes
                            or other document that contains information from a
                            confidential document.

     c.      Any party may supplement the “confidential” mark (see paragraph 2(b)) with the

             words “attorney’s eyes only,” in which case a confidential document so designated

             may not be revealed to another party.

     d.      If a confidential document is revealed to someone not entitled to receive it, the

             parties must make reasonable efforts to retrieve it immediately.

4.   Serving This Protective Order on a Non-Party. A party serving a subpoena on a non-

     party must simultaneously serve a copy of this protective order and of Local Rule 5.6.

     a.      A confidential document may be used only in this action.




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5.   Correcting an Error in Designation. A party or non-party who discloses or produces a

     confidential document not designated as confidential may, within 7 days after discovering

     the error, provide notice of the error and produce a copy of the document designated as

     confidential.

6.   Use of a Confidential Document in Court. If a party files documents with the Court

     containing information designated as protected pursuant to the terms of this Protective

     Order, the filings must be in compliance with the Electronic Case Filing Procedures for the

     District of Minnesota. The parties are advised that designation by a party of a document

     as protected pursuant to the terms of this Order cannot be used as the sole basis for filing

     the document under seal in connection with either a nondispositive motion, dispositive

     motion, trial related motion, or trial. Only those documents and portions of a party’s

     submission, or any part thereof, which otherwise meets requirements for protection from

     public filing under Federal Rule 26(c) (or in addition, but not limited to, under a statute,

     rule or regulation prohibiting public disclosure, Order of the Court, or other legal authority)

     shall be filed under seal. If a party intends to file with the Court a document designated by

     another party as protected pursuant to the terms of this Order, then that filing party shall

     provide reasonable advance notice to the designating party of such intent so that the

     designating party may determine whether or not they should seek to require the protected

     document to be filed under seal. The filing of documents under seal must comply with

     Rule 5.6 of the Local Rules of the United States District Court for the District of

     Minnesota. Further, any party intending to file a document under seal shall specifically

     review each document and the information therein to determine whether or not there is a

     good faith basis to believe that any privacy interest therein for sealing the document will




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     ultimately outweigh the public’s right to access filings on the Court’s docket; only

     documents that meet this good faith basis should be considered for filing under seal so as

     to limit the unnecessary and problematic filing of excessive documents under seal.

7.   Changing a Confidential Document’s Designation.

     a.      Document disclosed or produced by a party. A confidential document disclosed

             or produced by a party remains confidential unless the parties agree to change its

             designation or the Court orders otherwise.

     b.      Document produced by a non-party. A confidential document produced by a

             non-party remains confidential unless the non-party agrees to change its

             designation or the Court orders otherwise, after providing an opportunity for the

             non-party to be heard.

     c.      Changing a designation by court order. A party who cannot obtain agreement to

             change a designation may move for an order changing the designation. If the motion

             affects a document produced by a non-party then, with respect to the motion, that

             non-party is entitled to the same notice and opportunity to be heard as a party. The

             party or non-party who designated a document as confidential must show that the

             designation satisfies Fed. R. Civ. P. 26(c).

8.   Handling a Confidential Document After Termination of Litigation.

     a.      Within 60 days after the termination of this action (including any appeals), each

             party must:

             i.     return or destroy all confidential documents; and

             ii.    notify the disclosing or producing party that it has returned or destroyed all

                    confidential documents within the 60-day period.




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      b.      Notwithstanding paragraph 8(a), each attorney may retain a copy of any

              confidential document submitted to the Court.

9.    Inadvertent Disclosure or Production to a Party of a Protected Document.

      a.      Notice.

              i.        A party or non-party who discovers that it has inadvertently disclosed or

                        produced a protected document must promptly notify the receiving party

                        and describe the basis of the claim of privilege or protection. If the party or

                        non-party provides such notice and description, the privilege or protection

                        is not waived.

              ii.       A party who discovers that it may have received an inadvertently disclosed

                        or produced protected document must promptly notify the disclosing or

                        producing party or non-party.

      b.      Handling of Protected Document. A party who is notified or discovers that it may

              have received a protected document must comply with Fed. R. Civ. P. 26(b)(5)(B).

10.   Secured Precautions and Data Breaches.

      a.      Each party must make reasonable efforts to protect the confidentiality of any

              confidential document disclosed or produced to that party.

      b.      A party who learns of a breach of confidentiality must promptly notify the

              disclosing or producing party of the scope and nature of that breach and make

              reasonable efforts to remedy the breach.




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11.   Survival of Obligations. The obligations imposed by this protective order survive the

      termination of this action.



DATED: February 18, 2022                        s/Leo I. Brisbois
                                                Hon. Leo I. Brisbois
                                                U.S. MAGISTRATE JUDGE




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